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AO 106A (08/18) Application fora Warrant by Telephone or Other Reliable Electronic Mcans_ ==

 

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Sep 17, 2020 for the

CLERK U.S. DISTRICT COURT Western District of Washington
WESTERN DISTRICT OF WASHINGTON AT TACOMA
BY DEPUTY

 

 

 

 

 

 

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Case No, 3:20-mj-05219

two Facebook accounts, more particularly described in
Attachment A

APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

two Facebook accounts, more particularly described in Attachment A,

located in the Northern District of California , there is now concealed (identify the
person or describe the property to be seized):
See Attachment B, incorporated by reference herein.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
f evidence of a crime;
© contraband, fruits of crime, or other items illegally possessed;
©) property designed for use, intended for use, or used in committing a crime;

©) a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 USC 841a, 846 Drug trafficking and conspiracy

The application is based on these facts:

See attached Affidavit of FBI Special Agent Sean Thornton, incorporated by reference herein.
* Continued on the attached sheet. =

of Delayed notice of 90 days (give exact ending date if more than 30 days: 12/16/2020 __) is requested under

18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

( 4 Applicant's signature

Sean Thornton, FBI Special Agent

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone appearance (specify reliable electronic means).

Dates 9-17-2020 Anu. Gohe

Judge's signature

City and state: Tacoma, Washington Theresa L. Fricke, United States Magistrate Judge
Printed name and title

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AFFIDAVIT

STATE OF WASHINGTON )
COUNTY OF PIERCE *
I, SEAN THORNTON, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. I am an “investigative or law enforcement officer of the United States”
within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of
the United States who is empowered by law to conduct investigations of, and to make
arrests for, offenses enumerated in Title 18, United States Code, Section 2516.

2. I am a Special Agent of the Federal Bureau of Investigation (FBI) and have
been so employed since May of 2017. I am currently assigned to FBI Seattle Division’s
Vancouver Resident Agency (VRA) in Vancouver, Washington, focusing on the
investigation of organized crime, gangs, drug trafficking, and other criminal matters.

3. Since becoming a Special Agent, I have received specialized training from
the FBI, to include completing the 21-week New Agent Training course at the FBI
Academy. I have also received training in investigative methods to trace illegal proceeds
and prove financial crimes, money laundering, and conduct asset forfeiture. I have
participated in multiple drug investigations targeting large scale drug trafficking
organizations (DTOs) as the case agent or as an investigating agent. During my tenure as
an agent, I have been involved in federal and state wiretap investigations. I have
debriefed defendants and witnesses who had personal knowledge regarding drug
trafficking organizations. Additionally, I have participated in many aspects of drug
investigations, including conducting physical surveillance, confidential source
management, providing grand jury testimony, preparing search warrant affidavits,
executing search warrants, and making arrests.

4. Based upon my training and experience, I am familiar with drug traffickers’

methods of operation, including their methods of distribution, storage, and transportation

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of drugs, their methods of collecting proceeds of drug trafficking, and their methods of
laundering money. I am also familiar with methods employed by large-scale DTOs to
avoid detection by law enforcement, including the use of cellular telephone technology,
text messages, counter surveillance, false or fictitious identities, and encoded
communications.

5. The information contained in this affidavit is based upon knowledge I
gained from my investigation, my personal observations, my training and experience, and
information provided by other law enforcement officers, agents, or analysts. This
affidavit is intended to show merely that there is sufficient probable cause for the
requested warrant and pen-trap, and therefore does not set forth all of my knowledge
about this matter.

6. Based on the facts set forth in this affidavit, there is probable cause to
believe that violations of 21 U.S.C. §§ 841(a)(1) and 846 (Distribution of Controlled
Substances and Conspiracy) have been committed, are being committed, and will
continue to be committed by Alfredo VALDOVINOS-DIAZ, Cosme SANCHEZ-
ESPINO, and others known and unknown. As set forth below, there is also probable
cause to believe that evidence of the same will be found in the Facebook accounts used
by VALDOVINOS-DIAZ and SANCHEZ-ESPINO.

PURPOSE OF AFFIDAVIT

7. This affidavit is submitted in support of an application for a search warrant
under Title 18, United States Code, Sections 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A)
to require Facebook to disclose to the government records and other information in its
possession, pertaining to the subscriber or customer associated with the following two
Facebook accounts (the “SUBJECT ACCOUNTS’) as described in Attachment A:

e SUBJECT ACCOUNT 1 (“SA-1’): the Facebook account with Facebook
user ID 100028611992719, registered under the name “Jose LOPEZ”; and

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e SUBJECT ACCOUNT-2 (“SA-2”): the Facebook account with Facebook
user ID 10002765 1644395, registered under the name “AV DIAZ.”

8. All of the requested information is stored at premises owned, maintained,
controlled, or operated by Facebook, a social networking company headquartered in
Menlo Park, California. The information to be searched is described in the following
paragraphs and in Attachment B. This is the fourth application for a search warrant of
SA-1 and second application for a search warrant of SA-2 in this investigation.

9. This affidavit is made in support of an application for a warrant under Fed.
R. Crim. P. 41, 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), 2703(c)(1)(A) and 2703(d)! to
require Facebook to disclose to the government copies of the information (including the
content of communications) described in Section I of Attachment B. Upon receipt of the
information described in Section I of Attachment B, law enforcement agents and/or
individuals assisting law enforcement and acting at their direction will review that
information to locate the items described in Section II of Attachment B. Attachments A
and B are incorporated herein by reference.

10. As described more fully below, I respectfully submit there is probable
cause to believe that the information associated with SA-1 and SA-2 constitutes evidence,
contraband, fruits, or instrumentalities of criminal violations of Title 21, United States
Code, Sections 841(a)(1), 846 (distribution of controlled substances and conspiracy), 960
and 963 (importation of controlled substances and conspiracy) committed by Alfredo

VALDOVINOS-DIAZ, Cosme SANCHEZ-ESPINO, and others known and unknown.

 

' The government is also seeking non-content records pursuant to 18 U.S.C. § 2703(d). To obtain the basic
subscriber information, which does not contain content, the government needs only a subpoena. See 18 U.S.C.

§ 2703(c)(1), (c)(2). To obtain additional records and other information--but not content--pertaining to subscribers
of an electronic communications service or remote computing service, the government must comply with the
dictates of section 2703(c)(1)(B), which requires the government to supply specific and articulable facts showing
that there are reasonable grounds to believe that the records or other information sought are relevant and material to
an ongoing criminal investigation in order to obtain an order pursuant to 18 U.S.C. § 2703(d). The requested
warrant calls for both records containing content (see Attachment B paragraph II.10.a.) as well as subscriber records
and other records and information that do not contain content (see Attachment B paragraph II.10.b.).

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FACEBOOK INFORMATION STORAGE

11. Iam aware from my experience and training, and consultation with other
investigators, of the following information about Facebook.

12. | Facebook owns and operates a free-access social networking website of the
same name, accessed at http://www.facebook.com. Facebook allows its users to establish
accounts with Facebook, and users can then use their accounts to share written news,
photographs, videos, and other information with other Facebook users, and sometimes
with the general public.

13. | Facebook asks users to provide basic contact and personal identifying
information to Facebook, either during the registration process or thereafter. This
information may include the user’s full name, birth date, gender, contact e-mail
address(es), Facebook passwords, Facebook security questions and answers (for
password retrieval), physical address (including city, state, and zip code), telephone
numbers, screen names, websites, and other personal identifiers. Facebook also assigns a
user identification number to each account.

14. Facebook’s terms of use generally requires users to provide true names and
other identifiers, and generally prohibits individuals from creating multiple personal
accounts. However, Facebook does not appear to meaningfully enforce these
requirements. I know from my training and experience that many illicit Facebook users
(and even some legitimate users) will create, maintain and use multiple accounts under
multiple names.

15. [know from speaking with other law enforcement that “cookies” are small
files placed by a server (such as those used by Facebook) on a device to track the user
and potentially verify a user’s authentication status across multiple sites or
webpages. This cookie could be unique to a particular account (e.g., the Facebook
account) or to a given device (e.g., the particular phone used to access the Facebook
account). The next time a user visits a particular site or server, the server will ask for

certain cookies to see if the server has interacted with that user before. Cookies can also

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be used to determine “machine cookie overlap,” or multiple accounts that have been
accessed by the same individual machine (e.g., two Facebook accounts that have been
accessed on the same phone). The machine cookie overlap thus allows Facebook to track
accounts that are “linked” to each other because the same user account (username on a
computer) on the same device accessed multiple Facebook accounts. This can identify
either multiple Facebook accounts used by the same person or used by different people
sharing the same user account and device. In either case, the machine cookie overlap
means that the users of the linked accounts are the same person or two people in close
proximity to each other (by virtue of them using the same device).

16. | Facebook users may join one or more groups or networks to connect and
interact with other users who are members of the same group or network. Facebook
assigns a group identification number to each group. A Facebook user can also connect
directly with individual Facebook users by sending each user a “Friend Request.” If the
recipient of a “Friend Request” accepts the request, then the two users will become
“Friends” for purposes of Facebook and can exchange communications or view
information about each other. Each Facebook user’s account includes a list of that user’s
“Friends” and a “News Feed,” which highlights information about the user’s “Friends,”
such as profile changes, upcoming events, and birthdays.

17. | Facebook users can select different levels of privacy for the
communications and information associated with their Facebook accounts. By adjusting
these privacy settings, a Facebook user can make information available only to himself or
herself, to particular Facebook users, or to anyone with access to the Internet, including
people who are not Facebook users. A Facebook user can also create “lists” of Facebook
friends to facilitate the application of these privacy settings. Facebook accounts also
include other account settings that users can adjust to control, for example, the types of
notifications they receive from Facebook.

18. | Facebook users can create profiles that include photographs, lists of

personal interests, and other information. Facebook users can also post “status” updates

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about their whereabouts and actions, as well as links to videos, photographs, articles, and
other items available elsewhere on the Internet. Facebook users can also post information
about upcoming “events,” such as social occasions, by listing the event’s time, location,
host, and guest list. In addition, Facebook users can “check in” to particular locations or
add their geographic locations to their Facebook posts, thereby revealing their geographic
locations at particular dates and times. A particular user’s profile page also includes a
“Wall,” which is a space where the user and his or her “Friends” can post messages,
attachments, and links that will typically be visible to anyone who can view the user’s
profile.

19. | Facebook allows users to upload photos and videos. It also provides users
the ability to “tag” (i.e., label) other Facebook users in a photo or video. When a user is
tagged in a photo or video, he or she receives a notification of the tag and a link to see the
photo or video. For Facebook’s purposes, the photos and videos associated with a user’s
account will include all photos and videos uploaded by that user that have not been
deleted, as well as all photos and videos uploaded by any user that have that user tagged
in them.

20. | Facebook users can exchange private messages on Facebook with other
users. These messages, which are similar to e-mail messages, are sent to the recipient’s
“Inbox” on Facebook, which also stores copies of messages sent by the recipient, as well
as other information. Facebook users can also post comments on the Facebook profiles
of other users or on their own profiles; such comments are typically associated with a
specific posting or item on the profile. In addition, Facebook has a Chat feature that
allows users to send and receive instant messages through Facebook. These chat
communications are stored in the chat history for the account. Facebook also has a Video
Calling feature, and although Facebook does not record the calls themselves, it does keep
records of the date of each call.

21. Ifa Facebook user does not want to interact with another user on Facebook,

the first user can “block” the second user from seeing his or her account.

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22. | Facebook has a search function that enables its users to search Facebook for
keywords, usernames, or pages, among other things.

23. | Each Facebook account has an activity log, which is a list of the user’s
posts and other Facebook activities from the inception of the account to the present. The
activity log includes stories and photos that the user has been tagged in, as well as
connections made through the account, such as “liking” a Facebook page or adding
someone as a friend. The activity log is visible to the user but cannot be viewed by
people who visit the user’s Facebook page.

24. Facebook Notes is a blogging feature available to Facebook users, and it
enables users to write and post notes or personal web logs (“blogs”), or to import their
blogs from other services, such as Xanga, LiveJournal, and Blogger.

25. In addition to the applications described above, Facebook also provides its
users with access to thousands of other applications on the Facebook platform. When a
Facebook user accesses or uses one of these applications, an update about that the user’s
access or use of that application may appear on the user’s profile page.

26. | Some Facebook pages are affiliated with groups of users, rather than one
individual user. Membership in the group is monitored and regulated by the
administrator or head of the group, who can invite new members and reject or accept
requests by users to enter. Facebook can identify all users who are currently registered to
a particular group and can identify the administrator and/or creator of the group.
Facebook uses the term “Group Contact Info” to describe the contact information for the
group’s creator and/or administrator, as well as a PDF of the current status of the group
profile page.

27. Facebook uses the term “Neoprint” to describe an expanded view of a given
user profile. The “Neoprint” for a given user can include the following information from
the user’s profile: profile contact information; News Feed information; status
updates;links to videos, photographs, articles, and other items; Notes; Wall postings;

friend lists, including the friends’ Facebook user identification numbers; groups and

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networks of which the user is a member, including the groups’ Facebook group
identification numbers; future and past event postings; rejected “Friend” requests;
comments; gifts; pokes; tags; and information about the user’s access and use of
Facebook applications.

28. | Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or IP
address on Facebook, including information about the type of action, the date and time of
the action, and the user ID and IP address associated with the action. For example, if a
user views a Facebook profile, that user’s IP log would reflect the fact that the user
viewed the profile, and would show when and from what IP address the user did so.

29. Social networking providers like Facebook typically retain additional
information about their users’ accounts, such as information about the length of service
(including start date), the types of service utilized, and the means and source of any
payments associated with the service (including any credit card or bank account number).
In some cases, Facebook users may communicate directly with Facebook about issues
relating to their accounts, such as technical problems, billing inquiries, or complaints
from other users. Social networking providers like Facebook typically retain records
about such communications, including records of contacts between the user and the
provider’s support services, as well as records of any actions taken by the provider or
user as a result of the communications.

30. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information concerning
subscribers and their use of Facebook, such as account access information, transaction
information, and other account information. I believe such information is likely to
constitute evidence of the drug trafficking crimes currently under investigation.

SUMMARY OF PROBABLE CAUSE
31. The information set forth in this affidavit consists of information I have

gathered and observed firsthand through the course of this investigation to date, as well

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as information relayed to me by other law enforcement personnel, my review of law
enforcement reports, interviews of witnesses, and my review and analysis of toll records.
Since I am submitting this Affidavit for the limited purpose of obtaining authorization to
search the SUBJECT ACCOUNTS as described herein, I have not included every fact
known to me concerning this investigation. I have set forth only the facts that I believe
are essential to establish the necessary foundation for the issuance of such warrant.

32. The United States, including the FBI, is conducting a criminal investigation
of Alfredo VALDOVINOS-DIAZ, Cosme SANCHEZ-ESPINO, and others known and
unknown, regarding possible violations of 21 U.S.C. §§ 841(a)(1) and 846. FBI agents
based in Vancouver, Washington, and members of the Southwest Washington
Interagency Gang Enforcement Team (SWIGET), the Clark Vancouver Regional Drug
Task Force (CVRDTF), and Vancouver Police Department (VPD) have been
investigating a Drug Trafficking Organization (DTO) operating in the Vancouver area.
The DTO appears to be headed by Alfredo VALDOVINOS-DIAZ, who is currently
incarcerated at Great Plains Federal Correctional Institute (FCI), a federal contract
facility in Hinton, Oklahoma, serving a 96-month prison sentence imposed on June 8,
2015, in cause number CR14-05159BHS-004 (Western District of Washington), for
Conspiracy to Distribute Methamphetamine.

33. | Another member of the VALDOVINOS-DIAZ DTO identified in this
investigation is Cosme SANCHEZ-ESPINO. SANCHEZ-ESPINO is also an inmate at
Great Plains FCI, serving a 188-month sentence imposed on July 9, 2008, in cause
number CR07-29-H-DWM (District of Montana), for Conspiracy to Distribute
Methamphetamine.

34. As set forth below, I believe there is probable cause to believe that
VALDOVINOS-DIAZ and SANCHEZ-ESPINO have possessed and used contraband
cellular phones with Facebook accounts to direct drug trafficking activities of their co-

conspirators, during their respective periods of incarceration.

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35. | Through search warrants, post-Miranda interviews, information provided
by sources of information and confidential informants, and telephone toll analysis,
investigators have identified around a dozen individuals who have historically been
associated with the VALDOVINOS-DIAZ DTO, and with VALDOVINOS-DIAZ and
SANCHEZ-ESPINO.

November 17, 2019, Seizure of Methamphetamine from Brittney JONES

36. On November 17, 2019, CVRDTF Detective Erik Zimmerman learned that
a vehicle associated with Brittney JONES was returning to Washington from California.
Det. Zimmerman suspected that Brittney JONES, a Vancouver, Washington, resident,
was a methamphetamine dealer, and believed it was likely that she was traveling with
narcotics concealed in her vehicle. Investigators obtained the license plate numbers and
vehicle descriptions for all of the vehicles registered to her in the Washington
Department of Licensing (DOL) database. Through law enforcement databases,
investigators learned that a 2010 Nissan Rogue (bearing Washington license BQC4189)
owned by Brittney JONES had been in California on three separate occasions since
September 2019. Based upon my training, knowledge, and experience I am aware that
California is the primary source for narcotics in the Vancouver area.

37. At about 6:50pm on Sunday, November 17, 2019, Medford Area Drug &
Gang Enforcement (MADGE) Task Force investigators observed the Nissan traveling
northbound on Interstate 5 in the area of Medford, Oregon, through physical surveillance.
CVRDTF investigators located the vehicle through the utilization of GPS location data
(obtained with authorization in state court), and conducted a traffic stop when the Nissan
arrived in Vancouver, Washington. Brittney JONES, Brent JONES (Brittney JONES’
brother), and Brittney JONES’ two children were in the car.

38. Brittney JONES provided consent to CVRDTF Detective Robert Anderson

to conduct an exterior K9 sniff of her vehicle. Detective Anderson deployed his K9, who

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gave a positive alert for the odor of narcotics.” Brittney JONES also provided consent to
a search of the Nissan. Detectives found no drugs during the consent search, but saw that
the Nissan showed signs it had been altered. It should be noted that the consent search
did not include a thorough search of the vehicle’s undercarriage, door panels, dash
compartment, or areas within the seats.

39. Det. Anderson deployed his K9 once again to sniff all of the property
removed from the vehicle, and the K9 did not give a positive alert. Det. Anderson
deployed his K9 inside the vehicle, where the K9 did give a positive alert near the dash
area. Detectives noticed that Brittney JONES was using her cellular phone to send
messages during the traffic stop and search.

40. Detectives secured the Nissan and towed it to a secure location pending an
application for a search warrant to conduct a more thorough search. On Tuesday,
November 19, 2019, Clark County District Judge Chad E. Sleight authorized a search
warrant. Investigators subsequently conducted a more thorough search of the vehicle.

41. Investigators removed both front seats from the vehicle and located
compartments accessible by the removal of a steel plate. From within both
compartments, investigators located a combined total of 57 pounds of methamphetamine.
The street value of the seized methamphetamine is roughly $270,000, if sold in one-
ounce increments at $300 per ounce, which I know to be a consistent price for the drug in
the Vancouver area at the time.

42. Det. Zimmerman received information from a Confidential Reliable

Informant (“CRI-1”+) regarding this investigation. CRI-1 was aware law enforcement

 

? Detective Anderson’s assigned K9 ‘Piper’ has been a certified narcotics detection K9 since October 16, 2015,
being specifically and solely trained to detect the odor of illegal narcotics, specifically methamphetamine, cocaine,
and heroin, after completing over 200 hours of training per Washington Administrative Code (WAC) XXX-XX-XXXX.
Additional certifications include PNWK9 on May 20, 2016, and re-certifications under Washington Criminal Justice
Training Center (CJTC) standards on June 19, 2019, and PNWK9 standards on May 24, 2019. Current certifications
under CJTC standards are valid for 24 months.

3] am intentionally being vague to avoid possibly revealing CRI-1’s true identity, in hopes of avoiding possible
retribution against CRI-1 from DTO members. CRI-1 has admitted to purchasing, selling, and using

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had seized the methamphetamine from Brittney JONES’ vehicle, and informed Det.
Zimmerman that Brittney JONES was working for another individual. CRI-1 described
this individual as an unknown Hispanic male who utilized a cellular phone (voice and
text), and Facebook messenger to communicate. CRI-1 identified the name on the
Facebook account of this unknown Hispanic male as “Jose LOPEZ” (SA-1). CRI-1 had
previously purchased methamphetamine directly from Brittney JONES on multiple
occasions; the transactions were facilitated through the Hispanic male.

Execution of Search Warrants on January 15, 2020

43. On January 15, 2020, CVRDTF detectives executed search warrants at
4619 NE 112th Avenue, #K205, Vancouver, Washington (Brittney JONES’ apartment),
and at 1428 N 3rd Avenue, Kelso, Washington (Brent JONES’ primary address).
Detectives found no drug evidence within Brent JONES’ residence in Kelso. At Brittney
JONES’ residence in Vancouver, detectives located approximately 500 pills and what
appeared to be a drug ledger. The Washington State Patrol laboratory has conducted
testing on a representative sample of the pills and confirmed they contain Fentanyl.

44. Prior to the execution of the warrant at her apartment, detectives contacted
Brittney JONES at her place of employment and notified her that a search warrant would
be executed. Detectives told Brittney JONES she was welcome to accompany them to
the apartment. Brittney JONES agreed, and engaged in a non-Mirandized interview with
Det. Zimmerman. During that interview, Brittney JONES confirmed her involvement in
the ongoing possession and distribution of controlled substances. Brittney JONES further
confirmed that she has traveled to California on multiple occasions to pick up bulk

methamphetamine for distribution in the Vancouver area, and would personally access

 

 

 

methamphetamine, as well as to being familiar with how drugs are packaged, sold, transported, and consumed.
CRI-1 is motivated to assist law enforcement in return for favorable consideration regarding a pending charge of
possession of a controlled substance. CRI-1 has numerous felony convictions, and has provided consistent and
substantial assistance to law enforcement. The crimes CRI-1 has been convicted of do not include crimes of
dishonesty or deception.

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the hidden compartments in the Nissan to remove the methamphetamine while the
vehicle was parked in her garage.

45. — Brittney JONES was in possession of a cellular phone and provided
detectives with the passcode to allow them to manually search the phone. Detectives
observed the Facebook user/account “Jose LOPEZ” (SA-1) as a friend/contact of Brittney
JONES’ Facebook account. There was no photograph on SA-1’s home page, and SA-1
had a total of 75 friends. Brittney JONES’ association with SA-1 corroborated the
information detectives had received from CRI-1.

46. On January 24, 2020, CVRDTF detectives arrested Brittney JONES for
possession of controlled substances with intent to distribute, in reference to the 57-pound
methamphetamine seizure in November 2019. She was booked into the Clark County
Jail, and posted bail within a few days. The matter is pending in Clark County Superior
Court, with a trial date set in December 2020.

Interview of Two Vancouver Residents — February 4, 2020

47. Onor about February 4, 2020, Det. Zimmerman contacted two individuals
who volunteered information regarding Brittney JONES’ involvement in
methamphetamine trafficking. The individuals were interviewed separately, and both
provided information that detectives previously knew to be accurate and considered
credible.*

48. Both citizens said Brittney JONES works on behalf of a Hispanic male,
organizing transfers of methamphetamine from California to Washington. This Hispanic
male is also involved in organizing the day-to-day transactions of methamphetamine with
buyers. The individuals identified the Hispanic male as “Cosme,” and said he was

allegedly incarcerated in an Oklahoma federal prison for drug offenses related to a

 

4 Det. Zimmerman is aware of the true identities of the two individuals. However, considering the nature of the
crime being investigated, specifically the significant quantities of methamphetamine being trafficked (presumably
by a Mexican cartel), those providing information to law enforcement are placing themselves in considerable risk of
harm. Thus, I have not included the true identities of these individuals in this affidavit.

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Montana federal investigation. The individuals stated that, while incarcerated, “Cosme”
is utilizing a contraband cellular phone to communicate via voice and text, as well as via
Facebook messenger. One of the individuals explained how the vehicles utilized have
sophisticated secret compartments (or traps) to conceal the methamphetamine. The
second individual said s/he and others would also have drug-related communications with
“Cosme” through his Facebook account, which s/he identified as being in the name “Jose
LOPEZ” (SA-1).

Linkage of SA-I to Cosme SANCHEZ-ESPINO

49. Onor about February 6, 2020, investigators learned of an inmate named
Cosme SANCHEZ-ESPINO, incarcerated at Great Plains FCI located in Hinton, OK, for
conspiracy to distribute methamphetamine. The underlying investigation/prosecution
took place in Montana. Investigators obtained SANCHEZ-ESPINO’s booking
photograph and showed it to one of the two individuals Det. Zimmerman spoke with
(described above). That individual positively identified SANCHEZ-ESPINO as the
person s/he had referred to as “Cosme,” the user of the “Jose LOPEZ” Facebook account
(SA-1).

50. Based on my training and experience, I am aware that each Facebook
account has a unique account ID number. The unique account ID number associated with
SA-—1 is 100028611992719, and SA-1 shows a creation date of September 9, 2018.

51. On February 14, 2020, CVRDTF investigators sent a preservation request
to Facebook to preserve all records related to SA-1 (Facebook preservation case number
4516758), specifically, all data between the dates of November 1, 2019, and February 15,
2020. These dates were chosen to cover the 57-pound methamphetamine seizure from
Brittney JONES on November 17, 2019, the fentanyl seizure from Brittney JONES’
apartment on January 15, 2020, and Brittney JONES’ arrest on January 24, 2020.

52. On March 5, 2020, Clark County Superior Court Judge Scott Collier
authorized a search warrant for Facebook records related to SA-1. Detectives received

the records (covering a date range of November 1, 2019, to February 14, 2020) from

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Facebook on March 11, 2020. Much of the communication (messages) sent to/from SA-
1 was in Spanish. CVRDTF Detective Rodrigo Osorio, a fluent Spanish speaker,
translated the material. Some examples of those messages (in their translation to English)
are set forth below.

e On November 18, 2019, at 7:11am UTC (which corresponds to November 17,
2019, at 11:11pm PST), SA-1 sent a message to “Jorge Espino” (Facebook ID
100004474154636) that read, “They stopped her check on her.” In the next
message, SA-1 said, “She is close to the house,” and “she is telling me they are
drug cops.” At 7:13am UTC (11:13pm PST), Jorge Espino responded and said,
“yes, she is close to home” and “she has been stopped for 9 minutes.” SA-1 then
asked Jorge Espino if he can hear anything. Jorge Espino said nothing can be
heard, and all he can see is that the vehicle is parked in a store parking lot.

e At 7:20am UTC (11:20pm PST), SA-1 said, “she saw my message” and then said,
“it’s all fucked up.” SA-1 said, “she says they are using the dog,” and then
messages went back and forth between SA-1 and Jorge Espino as SA-1 asked
Jorge Espino to keep checking on it.

53. Investigators believe Jorge Espino is Cosme SANCHEZ-ESPINO’s
brother, Jorge Sanchez-Espino. Based on the conversation between SA-1 and Jorge
Espino, it is apparent they are referring to someone being pulled over, and, further, that
Jorge Espino can see where the car is and is able to hear what is going on around the
vehicle. As noted above, Brittney JONES was using her cellular phone during the traffic
stop and search. Investigators believe Brittney JONES was in communication with
SANCHEZ-ESPINO, via SA-1, during the traffic stop and this accounts for SANCHEZ-
ESPINO’s knowledge of events as they unfolded (e.g., “she is telling me they are drug
cops”). Investigators also believe that Jorge Espino was monitoring some sort of GPS
device on Brittney JONES’ vehicle, which accounts for his knowledge of where the

vehicle was located (e.g., “she has been stopped for 9 minutes” and stating the vehicle

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was in a parking lot). The GPS device also appears to have audio and video capability.
Investigators later located a GPS device capable of also recording or relaying interior
audio, affixed to the interior of Brittney JONES’ Nissan Rogue, hard-wired to the
vehicle’s power supply.

54. | Additional messages in this same string (i.e., corresponding to the
November 17, 2019, traffic stop of Brittney JONES) between SA-1 and Jorge Espino
include the following:

e At 7:49am UTC (11:49pm PST), SA-1 asked, “how hard is it to open that up?”
Jorge Espino replied, “they have to move the chairs” [likely meaning to remove
the seats].

e Atone point, Jorge Espino said the vehicle is moving to the north in “vancuber”
[sic] and sent SA-1 a photo depicting a satellite view map. The map showed a
vehicle icon (named “Rogue’’) in the parking lot of the Clark County Sheriff's
Office vehicle maintenance yard.

e Jorge Espino later asked if they let the “donkey/mule” go, and if the
“donkey/mule” had called SA-1. SA-1 replied and said, “yes, I just hung up with
her.”

55. | Based on my knowledge of this investigation, as well as on other Facebook
messages discussed in this affidavit, I believe SANCHEZ-ESPINO (using SA-1) and his
brother, Jorge Espino, were talking about the CVRDTF traffic stop of Brittney JONES on
November 17, 2019, and the 57 pounds of methamphetamine in a hidden compartment
under the seats (“the chairs”) of the Nissan Rogue Brittney JONES was driving.

56. Additional messages of interest in SA-1 that investigators received through
the above-described search warrant included one on December 31, 2019, in which Jorge
Espino told SA- 1, “hey it’s going to be in that girl’s brother’s name. The lady told me
that it will be ready on Thursday and that on Friday they will do the Smog test and that

same day they will provide the plates.” It appeared Jorge Espino was referring to a

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vehicle that would be registered to a female’s brother. Based on my knowledge of facts
in this investigation, I know that a Ford Edge (bearing California plate 8NPM751) is
registered to Brent JONES (Brittney JONES’ brother) and believe this is the vehicle
Jorge Espino was referring to. California Department of Motor Vehicles records show
the vehicle’s registration became effective on Friday January 3, 2020, which corresponds
with the timeline established in the messages. As described later in this affidavit,
CVRDTF detectives would locate 25 pounds of methamphetamine in a hidden
compartment in this vehicle.

57. | Another message of interest in SA-1 was dated January 15, 2020, at 9:37pm
UTC (1:37pm PST). In this message, SA-1 told Jorge Espino, “she is telling me that they
are checking the apartment.” I believe this was a reference to execution of the CVRDTF
search warrant at Brittney JONES’ apartment on January 15, 2020. At 1:01am UTC on
January 18, 2020 (5:01pm PST on January 17, 2020), SA-1 said, “the only thing is that
they did find the fucking/bitch candies.” I believe this was a reference to the Fentanyl
pills found in Brittney JONES’ apartment.

Discussion of Methamphetamine Shipment in February 2020

58. Included in the materials received from Facebook pursuant to this first
search warrant on SA-1 was series of messages between SA-1 and a user named “Shana
BeauBeaux” that began on February 5, 2020. Review of this Facebook profile leads me
to believe this is Shana BOBO, based on comparison with a Washington State DOL
photograph of BOBO. It is also my belief, based on my training and experience, that
“BeauBeaux” is an alternate spelling for BOBO, to avoid detection of the Facebook
account by law enforcement.

59. I reviewed criminal history records for BOBO, and found that she has four
felony convictions for drug-related offenses. The criminal history also shows multiple
aliases used when contacted by law enforcement. These aliases include “Shawna Bobo”

and “Shana Kalberer,” to name a few.

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60. On February 6, 2020 at 9:50am UTC (1:50am PST), SA-1 told BOBO,
“call brittney in the morning.” SA-1 then said, “she well tell you wher to go and get the
car in the paper.” I believe SA-1 was telling BOBO to contact Brittney JONES.

61. SA-1 sent a message to “Rocio Gomez” (who appears from the context of
other messages in SA-1 to be SANCHEZ-ESPINO’s girlfriend) on February 7, 2020, at
4:36pm UTC (8:36am PST), in which SA-1 told her that “the people that I sent are new
they left yesterday at noon and they are still not even to California when they were
supposed to almost be there.” I believe SANCHEZ-ESPINO was stating that he sent new
drug couriers (i.e., not Brittney JONES and/or her brother, Brent JONES) to California to
obtain a load of narcotics for shipment to Washington. I further believe (for the reasons
described below) these new couriers were BOBO and Kyle Gojio. Additional messages
between SA-1 and Jorge Espino discussed someone going “down” (to California),
stopping in Salem (Oregon) to stay at a hotel, and that they were not traveling very fast.
On February 7, 2020, at 6:54pm UTC (10:54am PST), SA-1 told Jorge Espino the people
driving the car were going to “Long Beach” (California). Jorge Espino later said they
had to stop to let the dogs out. It appeared from the messages that this vehicle, like
Brittney JONES’ Nissan Rogue, might have a GPS tracker/audio device installed in it;
investigators would later confirm this to be true.

62. A law enforcement database showed that on February 8 and 9, 2020, the
Ford Edge (bearing California plate 8NPM751) was in California. Based on this
information, it appears SA-1 and Jorge Espino were likely referring to this vehicle as the
one traveling to California to pick up a load of narcotics.

63. The messages in SA-1 continued on February 10, 2020, at 6:02pm UTC
(10:02am PST), when Jorge Espino said “they” were almost to Oregon. SA-1 had asked
for the location of the vehicle, and Jorge Espino sent SA-1 a satellite view map (image-
470816987128723) showing the icon of a silver vehicle (labeled “Edge”) on Hwy 101,

northwest of Mendocino National Forest and south of Eureka, California.

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64. On February 11, 2020, at 11:01am UTC (3:01am PST), Jorge Espino said
“the donkey/mule” finally showed up and that it was about two hours from Astoria
(Oregon). Based on my training and experience, as well as knowledge of this
investigation, I believe that “the donkey/mule” is coded language referring to the vehicle
and its occupants.

65. | Then, on February 12, 2020, SA-1 told Jorge Espino to tell the “cousin”
that there was “work” there now in case they need it. Based on my experience I know
that drug dealers often times refer to drugs as “work,” and believe this to be confirmation
that a load of drugs arrived in Western Washington for distribution.

66. Between February 6 and February 14, 2020 (the ending date for the
materials provided by Facebook pursuant to the first search warrant), SA—1 and BOBO
communicated with each other multiple times, including multiple video chats.

March 17, 2019, Seizure of Methamphetamine from Shana BOBO

67. Between the dates of February 25 and 27, 2020 CVRDTF Det. Zimmerman
met with an informant who claimed to be able to purchase methamphetamine from Brent
JONES. Detective Zimmerman was previously aware Brent JONES resided at 1428 3rd
Avenue N, Kelso, Washington. The informant made contact with Brent JONES at 360-
751-3103 to arrange the transaction.

68. Prior to the transaction, investigators thoroughly searched the informant
and his/her vehicle for money, drugs, and other contraband; they found none. The
informant was provided with a sum of US currency (serial numbers recorded) to purchase
the methamphetamine. Detectives kept the informant under constant surveillance as s/he
traveled to the location where the transaction was set to take place. The informant met
Brent JONES in a public place, and the transaction occurred under law enforcement
surveillance. Brent JONES utilized a silver 2007 Ford Edge bearing California license
plate 8NPM751, registered in his name, to complete the transaction.

69. Following the transaction, investigators followed the informant to a

predetermined location. The informant provided Det. Zimmerman with a package

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containing a quantity of suspected methamphetamine consistent with the amount of US
currency investigators had provided. The suspected methamphetamine field-tested
positive for the presence of methamphetamine. Investigators searched the informant and
his/her vehicle following the transaction for money, drugs, or other contraband, none of
which were found.

70. Other investigators kept Brent JONES under surveillance and saw him
returning to the Kelso residence listed above.

71. On February 27, 2020, Clark County Superior Court Judge Scott Collier
authorized the installation of a GPS device on the silver 2007 Ford Edge bearing
California license plate 8NPM751. The device was installed on February 28, 2020.

72. On March 17, 2020, at approximately 6:45pm, investigators from CVRDTF
and the Clackamas County Interagency Task Force (CCITF) located the Ford Edge in
Canyonville, Oregon. Law enforcement then followed the vehicle from Canyonville,
Oregon, to the Oregon coast area. The vehicle had been traveling northbound on
Interstate 5 before taking exit 136 near Sutherlin to travel westbound on Route 138
towards Elkton, Oregon. The vehicle continued onto Route 38 traveling westbound
toward Reedsport, Oregon. The vehicle then traveled north on Route 101 to Astoria,
Oregon, where it then traveled east on Highway 30. The vehicle traveled on Highway 30
until taking the exit for Highway 433 into Longview, Washington. Had the vehicle
remained on Interstate 5, the travel time would have been about four hours; the route
taken instead took about six-and-a-half hours. Additionally, during the surveillance,
investigators observed the driver make multiple counter surveillance measures, such as
exiting the main roadway to take side streets without making any prolonged stops only to
re-enter the highway. Investigators initiated a traffic stop in Longview, Washington, and
identified Shana BOBO as the driver. A male identified as Kyle Gojio was the
passenger; investigators found (during a safety pat-down) that he had a

methamphetamine pipe in his pocket.

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73. After being advised of her Miranda rights, BOBO said she had traveled to
California ina BMW before the car experienced mechanical difficulties. BOBO said she
purchased the Ford Edge for $3,500 a few days earlier, in California, from a “lady.” She
claimed that they (she and Gojio) wanted to “see the coast.” When investigators pointed
out that the trip had been taken during the evening hours (in total darkness), BOBO
acknowledged she did not see much. Given the vehicle’s travel pattern/counter
surveillance maneuvers, discovery of the methamphetamine pipe in Gojio’s pocket,
BOBO’s untruthful statements regarding her recent purchase of the Ford Edge
(investigators had seen BOBO driving the vehicle in Washington more than a week
earlier), Det. Anderson deployed his K9 Piper to the exterior of the vehicle. Piper gave a
positive alert for the odor of narcotics. Investigators asked BOBO if she would consent
to a search of the vehicle, and she said she would not. She told investigators to get “a
search warrant.”

74. BOBO and Gojio were allowed to remove two small dogs from the vehicle;
Gojio was allowed to remove his cell phone, jacket, and backpack. BOBO’s two cell
phones (one of which she said was a personal phone and the other of which she said was
for work — she stated she worked “under the table” for a Vietnamese family in Seattle)
and paperwork from her purse were secured inside the vehicle, pending application for a
search warrant. Detectives released Gojio and BOBO from the scene in the early
morning hours of March 18, 2020.

75. Clark County Superior Court Judge Collier authorized the search of the
Ford Edge, and investigators executed the warrant in the afternoon of March 18, 2020.
During the search, K9 Piper again provided a positive alert, near the rear bumper, where
investigators could see numerous screws missing. Once investigators removed the
bumper, they found 25 pounds of methamphetamine concealed in a hidden compartment.
Investigators removed their own GPS tracking device and observed another
device/speaker (similar to the one in Brittney JONES’ Nissan Rogue) hard-wired to the
Ford Edge’s power supply.

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Linkage of SA-I to the March 17, 2020, Traffic Stop and Seizure

76. On April 15, 2020, Clark County Superior Court Judge Collier authorized a
second search warrant for records from to SA-1 between the dates of February 15, 2020,
and April 15, 2020. Detectives received the records from Facebook on May 4, 2020. A
review of these records showed frequent and ongoing communication between SA-1 and
other DTO members, to include Brittney JONES and BOBO. The following paragraphs
detail some of the communications received through this second search warrant.

77. BOBO utilized a Facebook profile with username “Shana Kalberer” to
regularly communicate with SA-1 through Facebook messenger, to include exchanging
nude videos and photos. As noted above, “Shana Kalberer” is a listed alias name on
BOBO’s criminal history. Additionally, investigators were able to attribute the “Shana
Kalberer” Facebook profile to BOBO through comparison of BOBO’s DOL photo to
photos on the profile. It should also be noted that the account ID for the account is
100011395899599, and that the display user name was changed from “Shana
BeauBeaux” to “Shana Kalberer,” I believe in an attempt to avoid detection by law
enforcement. On February 22, 2020, at 6:57pm UTC (10:57am PST), SA-1 asked BOBO
to wire $800.00 to a person in Albuquerque, New Mexico.

78. On March 9, 2020, at 5:02am UTC (10:02pm PDT on March 8, 2020),
Jorge Espino told SA-1, “they are in Roseburg, about 2 hours below Eugene.” Jorge
Espino and SA-1 continued to talk about the location of “them.” SA-1 then asked for a
picture. Jorge Espino then sent a satellite map view depicting the icon of a red vehicle
(labeled “Edge’’) parked off Creekside Rd next to Interstate 5. A second photo showed
the icon of the vehicle labeled “Edge” near Roseburg, heading southbound on Interstate
5. As noted above, investigators would later find a GPS/audio device inside the Ford
Edge, which I believe allowed Jorge Espino to track its location.

79. On March 16, 2020 at 8:05am UTC (1:05am PDT), BOBO told SA-1 they
were “driving and about to pull into some ghetto hotel in 2 miles.” SA-1 replied, “ok

good.” BOBO responded, “you worried? We are good. You can sleep now.”

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80. On March 17, 2020, at 8:31am UTC (1:31am PDT), SA-1 asked Jorge
Espino, “where is she?” At 12:14pm UTC (5:14am PDT) Jorge Espino replied and said,
“its just arriving in Longview.” About an hour later at 1:15pm UTC (6:15am PDT),
Jorge Espino said, “it’s a failure brother, she is at the same place as the other.” I believe
Jorge Espino was likely referring to the fact that detectives stopped the Ford Edge and
subsequently towed the vehicle to the Clark County Sheriff’s Office facility (the same
location where they towed Brittney JONES’ vehicle in November 2019). At 1:34pm
UTC (6:34am PDT), SA-1 asked, “how?” Five minutes later (1:39pm UTC / 6:39am
PDT), SA-1 said, “but that one (a female) was not there”... “she arrived at her home” ...
“the donkey”... “[she] only went to drop off the money and returned home.” At 1:58pm
UTC (6:58am PDT), SA-1 sent a message to Brittney JONES that read, “does it appear if
they have been detained?” (This message was sent after BOBO and Gojio had been
released from the scene of the traffic stop.) Brittney JONES replied, “not my brother.”
SA-1 then asked Brittney JONES about her brother’s friend, and Brittney JONES said the
male did not appear to be in jail. SA-1 told Brittney JONES the female called him from a
different number. I believe this exchange shows that Brittney JONES’ brother, Brent
JONES, likely had some involvement in the March 17, 2020, seizure. I also believe it is
possible that Gojio may be friends with Brent JONES, and that the “female” calling from
a different number might have been BOBO calling SA-1 from Gojio’s phone.

81. On March 17, 2020, at 5:17pm UTC (10:17am PDT), SA-1 told Rocio
Gomez, “its gone to shit again up there.” Gomez asked, “what happened now?” SA-1
then said, “they got the other car my love.” SA-1 went on to say, “they were almost there
where they were supposed to arrive...they didn’t take them, but they took the car.” I
believe this referred to the fact that law enforcement did not arrest BOBO and Gojio, but
seized the car. At 9:46pm UTC (2:46pm PDT), Rocio Gomez asked, “‘did you change
your phone number?” SA-1 said, “yes my love, I changed it.” Based on my training and
experience, I am aware that drug traffickers frequently change their phone numbers. This

is especially true after a substantial seizure of narcotics or US currency.

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82. SA-1 later asked Jorge Espino for an update on the vehicle. On March 19,
2020, at 12:08am UTC (5:08pm on March 18, 2020), Jorge Espino told SA-1 the vehicle
was moved for about an hour and a half, and then it moved back to the corner. This is
consistent with the timeline of CVRDTF investigators’ execution of the search warrant
on the Ford Edge inside of a garage bay prior to returning it to its place in the
maintenance yard for storage.

83. On March 25, 2020, at 7:54pm UTC (12:54pm PDT), about a week after
the traffic stop and seizure of methamphetamine described above, BOBO sent SA-1 three
photographs of law enforcement standing near the Ford Edge after the vehicle was seized
and after BOBO and Gojio were released from the scene.

84. On April 5, 2020, at 5:43am UTC (10:41pm on April 4, 2020), SA-1 asked
Brittney JONES for the telephone number of someone named “Jose Luis.” Brittney
JONES later sent a screen shot showing the name “Joseluis Dominguez,” and another
screen shot showing a conversation with “Joseluis” and telephone number 360-721-4156.
In the same screen shot, it appeared Brittney JONES gave Joseluis the telephone number
661-903-2417 as Cosme SANCHEZ-ESPINO’s phone number, and asked Joseluis to call
SANCHEZ-ESPINO. In a subsequent message, SA-1 told Brittney JONES he was
finally able to reach him and was talking to him. According to routine record checks,
telephone number 360-721-4156 is associated with a Jose Ramirez at 8917 NE 15th Ave,
H82, Vancouver, Washington. Washington DOL records show a Jose Luis Ramirez Cruz
reporting a prior address of 8917 NE 15th Ave, and current address of 2517 NE 127th
Ave, Vancouver, Washington. Based on this information, I believe “Joseluis Dominguez”
is likely Jose Luis Ramirez Cruz.

85. On April 5, 2020, at 6:41am UTC (11:41pm on April 4, 2020), SA- 1 told
Brittney JONES he spoke with the “fat one” (believed to be Joseluis/Jose Luis Ramirez
Cruz). SA-1 stated that he (Joseluis) said he has a friend who will go transport drugs, and
that the friend has a ranch on the “other side” where they can keep the stuff (drugs).
Brittney JONES replied and said she knows him (Joseluis).

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Interactions between SA-1I and SA-2

86. Inthe materials provided by Facebook through the first search warrant,
CVRDTF detectives saw that, on November 1, 2019, SA-1 started a conversation with
the user of a Facebook profile page displaying the username “AV DIAZ,” with unique
Facebook ID 10002765 1644395 (SA-2). The Facebook profile for SA-2 shows the user
is from Vancouver, Washington, with a listed hometown of La Union, Guerrero, Mexico.
SA-2 is “tagged” in two photos by Facebook user “Berta Valdovinos.” Based on my
knowledge of the previous investigation that resulted in VALDOVINOS-DIAZ’s current
incarceration, I am aware that VALDOVINOS-DIAZ is from La Union, Guerrero,
Mexico, and is married to Floriberta Valdovinos-Valle. I believe “Berta Valdovinos” is
Floriberta Valdovinos- Valle, and believe that VALDOVINOS-DIAZ is the the user of
SA-2.

87. On November 15, 2019, beginning at 5:59am UTC (9:59pm on November
14, 2019), SA-1 told SA-2 to tell “them” to make them “square like,” so they fit, and SA-
2 said, “ok” at 6:00am UTC (10:00pm on November 14, 2019). On November 16, 2019,
at 7:19am UTC (11:09pm PST on November 15, 2019) SA-1 asked, “have you given
them the girl’s number so they come to an agreement so they meet up at one place at the
same time?” SA-2, at 7:09am UTC (11:09pm PST) on November 15, 2019, provided an
affirmative answer. One minute later, SA-2 then said he will send SA-1 a number, and to
have the girl call it when she is two hours away. SA-1 replied at 7:1lam UTC (11:10 pm
PST) and said to give them her number and that they should call her now while she is
driving.

88. On November 18, 2019, at 7:23am UTC (11:23pm on November 17, 2020),
SA-1 told SA-2, “they stopped her.” SA-1 said she was about 2 minutes from the house,
and wrote, “she says they are using a dog.” SA-1 also said she had her kids and her
brother with her. SA-1 told SA-2 that everything was “fixed well.” SA-2 then told SA-1
not to worry about it, and that everything would be fine. Based on the facts of this
investigation, I believe SANCHEZ-ESPINO and VALDOVINOS-DIAZ were talking

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about the November 17, 2019, stop of Brittney JONES and her brother, Brent JONES. I
further believe that the November 15, 2019, messages described above were the
coordination for the 57 pounds of methamphetamine that Brittney and Brent JONES were
transporting inside Brittney JONES’ Nissan Rogue.

89. On January 6, 2020, at 2:17am UTC (6:17pm PST on January 5, 2020),
SA-1 sent a message to SA-2 that read, “they arrived all is good.” This is consistent with
the information in a law enforcement database putting the Ford Edge (with California
license 8NPM751) in California on January 4, 2020. I believe this was referring to the
successful transport of drugs from California to Western Washington.

90. Inaconversation thread beginning on February 6, 2020, at 3:58am UTC
(7:58pm PST on February 5, 2020), SA-2 sent SA-1 the address of “508 W 33rd St
Vancouver Wa 98660.” SA-1 told SA-2 what tools would be needed, specifically a
socket wrench size 5.5 (7.16 metric) and a small Philips screwdriver, to open a vehicle
trap. Later during this conversation SA-2 asked if the “white girl” was going there for
the money.

91. On February 7, 2020, at 7:11am UTC (11:11pm PST on February 6, 2020),
SA-2 sent telephone number 626-510-5960 to SA-1 and told SA-1 to have “them” call
that number and make arrangements to meet. The user of the listed phone number
appears to be the person meeting whomever SA-1 was sending. SA-2 told SA-1 at
7:17am UTC (11:17pm PST on February 6, 2020) it was in Long Beach. I believe
VALDOVINOS-DIAZ was facilitating a drug delivery in Long Beach, California,
between the user of 626-510-5960 and SANCHEZ-ESPINO’s couriers. As described
above, a law enforcement database showed that on February 8 and 9, 2020, the Ford Edge
(bearing California plate 8NPM751) was in California, and other messages recovered
from SA-1 indicated that SA-1 and Jorge Espino were discussing individuals driving to
California to pick up a load of narcotics in this same timeframe.

92. On April 28, 2020, Clark County Superior Court Judge Collier authorized a

search warrant for Facebook records related to SA-2 dated between November 1, 2019,

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and April 28, 2020. Detectives served the warrant on April 29, 2020, and received the
requested records on May 8, 2020.

93. An initial review of the records has revealed VALDOVINOS-DIAZ
identifying himself in messages as the user of SA-2, including by sending photographs of
himself. Investigators have also observed conversations between VALDOVINOS-DIAZ
(using SA-2) and accounts believed to belong to VALDOVINOS-DIAZ’s children
wherein VALDOVINOS-DIAZ is referred to as “dad.” The records also showed SA-2
has been active since July 29, 2018.

94. Based on my training and experience, I am aware that Facebook accounts
are capable of being linked to cellular phone numbers. SA-2 is linked to cellular phone
number 971-218-1913. This number has been attributed to VALDOVINOS-DIAZ in the
course of this investigation, including a March 2019 consensually recorded phone call
placed to the number by an individual cooperating with law enforcement. At the time of
the phone call, the individual was cooperating with the government in hopes of receiving
consideration on state charges. The context of this call was to schedule a delivery of ten
pounds of methamphetamine at a price of $2,500 per pound. This delivery never
occurred, due to safety concerns. Moreover, the individual’s cooperation with law
enforcement ended after s/he was found to be engaging in unauthorized drug transactions.

95. Given the above facts, I believe there is probable cause to believe that
Cosme SANCHEZ-ESPINO and Alfredo VALDOVINOS-DIAZ are using SA-1 and SA-
2, respectively, for drug-related purposes, and will continue to use SA-1 and SA-2,
respectively for the same purposes. I further believe that SA-1 and SA-2 will contain
information related to SANCHEZ-ESPINO and Alfredo VALDOVINOS-DIAZ’s drug
trafficking activities in Western Washington and elsewhere, and will help agents to
identify other members of the VALDOVINOS-DTO.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

96. | anticipate executing this warrant under the Electronic Communications

Privacy Act, in particular Title 18, United States Code, Sections 2703(a), 2703(b)(1)(A)

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and 2703(c)(1)(A), by using the warrant to require Facebook to disclose to the
government copies of the records and other information (including the content of
communications) particularly described in Section I of Attachment B. Upon receipt of
the information described in Section I of Attachment B, government-authorized persons
will review that information to locate the items described in Section II of Attachment B.

97. As indicated in the Application and Order for Non-Disclosure that
accompany this affidavit, the government requests, pursuant to the preclusion of notice
provisions of Title 18, United States Code, Section 2705(b), that Facebook be ordered not
to notify any person (including the subscriber or customer to which the materials relate)
of the existence of this warrant for such period as the Court deems appropriate, not to
exceed one year. The government submits that such an order is justified because
notification of the existence of this Order would seriously jeopardize the ongoing
investigation. Such a disclosure would give the subscriber an opportunity to destroy
evidence, change patterns of behavior, notify confederates, or flee from prosecution.
Notifying our targets of the existence of this investigation will likely cause them to
destroy evidence, flee the jurisdiction, or alter their methods, thus making it more
difficult to dismantle the organization effectively. Notice also could put individuals
assisting the government and agents in danger. For all the same reasons, I am requesting
that the Court allow the government to delay notification of this warrant for the same
period, not to exceed one year.

98. It is further respectfully requested that this Court issue an order sealing all
papers submitted in support of this application, including the application and search
warrant, until further order of the Court, for a period not to exceed one year. I believe
that sealing this document is necessary because the items and information to be searched
and seized are relevant to an ongoing investigation. Premature disclosure of the contents
of this Affidavit and related documents may have a significant and negative impact on the

continuing investigation and may severely jeopardize its effectiveness.

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COMMON CHARACTERISTICS OF DRUG TRAFFICKERS

99. Based on my training and experience, including experience obtained
through participation in this and other investigations involving the distribution of
controlled substances, including those targeting long-term conspiracies responsible for
the distribution of controlled substances, and based upon my consultation with other
experienced law enforcement agents and officers, I know that:

a. Drug trafficking conspiracies, especially those involving large amounts of
narcotics and interstate shipments, usually take place over several months or years, and
continue to operate even when enforcement activity results in arrests and/or seizures of
drugs and/or money.

b. I know narcotics traffickers often require the use of one or more
communication facilities to negotiate times, places, schemes, and manners for importing,
possessing, concealing, manufacturing, and distributing controlled substances and for
arranging the disposition of proceeds from the sale of controlled substances. I know
international and domestic narcotics trafficking organizations often depend on
maintaining timely long-distance and local connections between original sources of
supply and those down the organizational chain. Narcotics traffickers utilize a variety of
communication methods, including telephone communications, encrypted and
unencrypted messaging applications, and email. Among other techniques, I know that
drug traffickers sometimes use Facebook Messenger to conduct such communications.

CONCLUSION

100. Based upon the information which has been uncovered during the course of
this investigation, and on the advice, experience, knowledge of other agents and officers
involved in this investigation, I believe these facts establish probable cause to conclude
that the SUBJECT ACCOUNTS have been used, and will continue to be used, to
facilitate violations of the Controlled Substances Act, specifically distribution of

narcotics, conspiracy, and related offenses in the Western District of Washington, and

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101. As noted above, I am assigned to the FBI’s Vancouver, Washington, office.

Thus, I am submitting this affidavit and application electronically in accordance with

Local Criminal Rule 41(d)(3).
y -
SoHE —
AN THORNTON, Affiant

Special Agent
Federal Bureau of Investigation

 

The above-named agent provided a sworn statement to the truth of the foregoing
affidavit by telephone on thel 7thgay of September, 2020.

pares, Sryhe

THERESA L. FRICKE
United States Magistrate Judge

 

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ATTACHMENT A
Property to Be Searched

This warrant applies to information associated with the accounts listed below (the
“SUBJECT ACCOUNTS’) for all such information that is stored at premises owned,

maintained, controlled, or operated by Facebook, a company headquartered in Menlo

Park, California. This warrant is limited to information created after the specified dates:
e SUBJECT ACCOUNT-1: Facebook user ID 100028611992719,
registered under the name JOSE LOPEZ, from April 15, 2020 to the

present; and

e SUBJECT ACCOUNT-2: Facebook user ID 10002765 1644395,
registered under the name AV DIAZ, from April 20, 2020 to the present.

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ATTACHMENT B
Particular Things to be Seized
1. Information to be disclosed by Facebook
To the extent that the information described in Attachment A is within the
possession, custody, or control of Facebook, including any messages, records, files, logs,
or information that have been deleted but are still available to Facebook, or have been
preserved pursuant to a request made under Title 18, United States Code, Section 2703(f),
Facebook is required to disclose the following information to the government for the user
ID listed in Attachment A (the “SUBJECT ACCOUNTS’):
A. The following information about the customer or subscriber of the SUBJECT

ACCOUNTS:

(a) All contact and personal identifying information, including full name, user
identification number, birth date, gender, contact e-mail addresses,
Facebook passwords, Facebook security questions and answers, physical
address (including city, state, and zip code), telephone numbers, screen
names, websites, and other personal identifiers.

(b) All activity logs for the SUBJECT ACCOUNTS and all other documents
showing the user’s posts and other Facebook activities;

(c) All photos and videos in their original format, including EXIF information
(metadata), uploaded by that user ID and all photos and videos in their
original format, including EXIF information (metadata), uploaded by any
user that have that user tagged in them;

(d) All other records of communications and messages made or received by the
user, including all private messages, chat history, calling history, and
pending “Friend” requests;

(e) All “check ins” and other location information;

(f) All IP logs, including all records of the IP addresses that logged into the

SUBJECT ACCOUNTS;
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(g) All past and present lists of friends created by the SUBJECT ACCOUNTS;

(h) All records of Facebook searches performed by the SUBJECT
ACCOUNTS;

(i) The length of service (including start date);

(Gj) The means and source of payment for such service (including any credit
card or bank account number) and billing records;

(k) All records pertaining to communications between Facebook and any
person regarding the user or the user’s Facebook account, including
contacts with support services and records of actions taken;

(1) | Names (including subscriber names, Facebook user IDs, and screen
names);

(m) Addresses (including mailing addresses, residential addresses, business
addresses, and e-mail addresses);

(n) Local and long distance telephone connection records;

(0) Linked accounts; and

(p) | Telephone or instrument numbers or identities (including MAC addresses).

B. All records and other information (not including the contents of communications)
relating to the SUBJECT ACCOUNTS, including:

(a) Records of user activity for each connection activity for each connection
made to or from the SUBJECT ACCOUNTS, including log files;
messaging logs; the date, time, length, and method of connections; data
transfer volume; user names; and source and destination of Internet
Protocol addresses;

(b) Information about each communication sent or received by the SUBJECT
ACCOUNTS, including the date and time of the communication, the
method of the communication (such as source and destination email

addresses, IP addresses, and telephone numbers); and

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(c) Records of any Facebook accounts that are linked to the SUBJECT
ACCOUNTS by machine cookies (meaning all Facebook user IDs that
logged into Facebook by the same machine or device as the SUBJECT
ACCOUNTS).

II. Information to be seized by the government

All information described above in Section I that relates to the ongoing narcotics
investigation described in the Affidavit (i.e., felony violations of Title 21, United States
Code, Sections 841(a)(1) and 846, Distribution of and Conspiracy to Distribute
Controlled Substances), including, for the user IDs identified on Attachment A,
information pertaining to the following matters:

(a) any and all Wall Posts, private messages, status updates, chat history, friend
requests, postings, photographs, or any other information, records, or other
material or information that relates to drug trafficking, or activity related to
or in furtherance of drug trafficking;

(b) any and all IP logs, including all records of the IP addresses that logged
into the account, and the dates and times such logins occurred, as well as
any other connection information;

(c) records relating to who created, used, or communicated with the user ID,
including records about their identities and whereabouts;

(d) financial records and information, including but not limited to money
transfers or wires;

(e) information identifying the names, location, or other contact information of
people in contact with suspected drug traffickers;

(f) Any content including e-mails, messages, texts, photographs (including
metadata), videos (including metadata), visual images, documents,
spreadsheets, address lists, contact lists or communications of any type

which could be used to identify the user and or their location.

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(g) Records relating to who created, used, or communicated with the user ID,
including records about their identities and whereabouts;

(h) any information, records, or other material relevant to the whereabouts of
the user of each of the SUBJECT ACCOUNTS;

(i) All subscriber records associated with the SUBJECT ACCOUNTS,
including name, address, local and long distance telephone connection
records, or records of session times and durations, length of service
(including start date) and types of service utilized, telephone or instrument
number or other subscriber number or identity, including any temporarily
assigned network address, and means and source of payment for such
service including any credit card or bank account number;

(j) Any and all other log records, including IP address captures, associated
with the SUBJECT ACCOUNTS; and

(k) Any records of communications between Facebook and any person about
issues relating to the account, such as technical problems, billing inquiries,
or complaints from other users about the SUBJECT ACCOUNTS. This is
to include records of contacts between the subscriber and the provider's
support services, as well as records of any actions taken by the provider or

subscriber as a result of the communications.

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS
RECORDS PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)

I, , attest, under penalties of perjury

 

under the laws of the United States of America pursuant to Title 28, United States Code,
Section 1746, that the information contained in this declaration is true and correct. I am

employed by Facebook, and my official title is . lam

 

a custodian of records for Facebook. I state that each of the records attached hereto is the
original record or a true duplicate of the original record in the custody of Facebook, and
that I am the custodian of the attached records consisting of
(pages/CDs/kilobytes). I further state that:
a. all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth, by, or from information transmitted by, a person with
knowledge of those matters;
b. such records were kept in the ordinary course of a regularly conducted business
activity of Facebook; and
c. such records were made by Facebook as a regular practice.

I further state that this certification is intended to satisfy Rule 902(11) of the

Federal Rules of Evidence.

 

Date Signature

902(11) Certification- 1 UNITED STATES ATTORNEY
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